Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.51 Page 1 of 14




  1   DICKINSON WRIGHT PLLC
      Bennett Evan Cooper (CA 128544)
  2   bcooper@dickinsonwright.com
      Bradley A. Burns (AZ 030508) (pro hac vice pending)
  3   bburns@dickinsonwright.com
      Amanda E. Newman (AZ 032462) (pro hac vice pending)
  4   anewman@dickinsonwright.com
      1850 N. Central Avenue, Suite 1400
  5   Phoenix, Arizona 85004
      Tel: (602) 285-5000
  6   Fax: (844) 670-6009
      Attorneys for Defendant Xcentric Ventures, LLC
  7
  8                         UNITED STATES DISTRICT COURT
  9                       SOUTHERN DISTRICT OF CALIFORNIA
 10   Mark Selker, individually and on            No. 22-cv-00393-BEN-KSC
      behalf of all others similarly situated,
 11                                               MEMORANDUM OF POINTS AND
                    Plaintiffs,                   AUTHORITIES IN SUPPORT OF
 12                                               MOTION TO DISMISS AND
            v.                                    COMPEL ARBITRATION
 13
      Xcentric Ventures, LLC and Does 1           Hearing Date: May 2, 2022
 14   through 300, inclusive,                     Hearing Time: 10:30 a.m.
                                                  Hearing Location: Courtroom 5A
 15                 Defendants.                   Before: Hon. Roger T. Benitez
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                 MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.52 Page 2 of 14




  1                                              TABLE OF CONTENTS
  2                                                                                                                    Pages
  3
  4   I.     Introduction .................................................................................................. 5
      II.    Relevant Background ................................................................................... 6
  5
      III.   Analysis ........................................................................................................ 7
  6          A.    There is a valid arbitration agreement between the parties .............. 9
  7          B.    The arbitration agreement encompasses this dispute....................... 11
             C.    Plaintiffs are entitled to an award of their attorneys’ fees
  8                and costs. .......................................................................................... 13
  9   IV.    Conclusion .................................................................................................. 13
 10
 11
 12
 13
 14
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 21
 22
 23
 24
 25
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                                                  2
                   MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.53 Page 3 of 14




  1                                              TABLE OF AUTHORITIES
  2                                                                                                                       Pages
  3
      Cases
  4
      Ass’n of Am. Med. Colleges v. United States, 217 F.3d 770 (9th Cir. 2000) ............ 8
  5
      Balan v. Tesla, Inc., 840 Fed. Appx. 303 (9th Cir. 2021) ....................................... 12
  6
      Boardman v. Pac. Seafood Group, 822 F.3d 1011 (9th Cir. 2016)........................... 9
  7
      Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126 (9th Cir. 2000) ........... 8
  8
      Chloe Z Fishing Co., Inc. v. Odyssey Re (London) Ltd., 109 F. Supp. 2d 1236 (S.D.
  9
         Cal. 2000) ............................................................................................................... 9
 10
      Escareno v. Kindred Nursing Centers W., L.L.C., 366 P.3d 1016 (Ariz. Ct. App.
 11
         2016)..................................................................................................................... 10
 12
      Faegin v. LivingSocial, Inc., 2014 WL 5307186 (S.D. Cal. Oct. 15, 2014) ........... 11
 13
      In re Lindsay, 59 F.3d 942 (9th Cir. 1995)................................................................ 9
 14
      In re Sterba, 852 F.3d 1175 (9th Cir. 2017) .............................................................. 9
 15
      Indian Hills Holdings, LLC v. Frye, 2021 WL 5994036 (S.D. Cal. Dec. 17, 2021) 8
 16
      Levy v. Only Cremations for Pets, Inc., 57 Cal. App. 5th 203 (2020) .................... 10
 17
      McLychok v. Diamond Resorts U.S. Collection Dev., LLC, 2021 WL 614994 (S.D.
 18
         Cal. Feb. 16, 2021) ................................................................................................. 8
 19
      Savoca Masonry Co., Inc. v. Homes & Son Const. Co., Inc., 542 P.2d 817 (Ariz.
 20
         1975)..................................................................................................................... 10
 21
      Tracer Research Corp. v. Nat’l Envtl. Services Co., 42 F.3d 1292 (9th Cir. 1994)11
 22
      Statutes
 23
      9 U.S.C. § 2............................................................................................................ 8, 9
 24
      Ariz. Rev. Stat. § 12-341 ......................................................................................... 13
 25
      Ariz. Rev. Stat. § 12-341.01 .................................................................................... 13
 26
 27   Other Authorities
 28   Restatement (Second) of Conflict of Laws § 188 (1971)........................................ 10
                                                    3
                     MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.54 Page 4 of 14




  1   Rules
  2   Fed. R. Civ. P. 12............................................................................................. 6, 8, 13
  3   Fed. R. Civ. P. 54..................................................................................................... 13
  4
  5
  6
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                     MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.55 Page 5 of 14




  1   I.    Introduction
  2         Central to the claims by Plaintiff Mark Selker (“Plaintiff”) in this lawsuit are
  3   allegations that he paid for a “No-Index” service provided by Defendant Xcentric
  4   Ventures, LLC (“Xcentric”).
  5         Xcentric operates the website www.ripoffreport.com (the “Website”), on
  6   which third-party users can post reports about businesses and individuals. Similar
  7   to websites offered by Yelp! and the Better Business Bureau, the Website is
  8   essentially a consumer advocacy forum where users can review and discuss
  9   businesses. Xcentric also offers several services, including internet reputation
 10   monitoring and a service (available within certain parameters) that de-indexes
 11   certain website pages from search engines, which may limit the extent to which
 12   such pages show up on search engines (the “No-Index” service). No service offered
 13   by Xcentric includes removal of user reports from the Website. [See Declaration of
 14   Ed Magedson ¶¶ 3-5 (Exhibit 1 hereto).]
 15         Plaintiff’s allegations about the No-Index service are extensive. Plaintiff
 16   alleges that he paid for a No-Index service from Xcentric. [Compl. ¶ 50.] Plaintiff
 17   alleges that Xcentric’s performance of services under the parties’ agreement for
 18   No-Index services did not result in a report about Plaintiff being removed from the
 19   Website. [Id.] Plaintiff seeks to represent a putative class of California citizens that
 20   includes those who paid for de-indexing of reports on the Website. [Compl. ¶ 54.]
 21   Plaintiff alleges that there is a predominating question of whether Xcentric’s
 22   requirement for payment before, inter alia, de-indexing is extortion. [Compl. ¶ 58.]
 23   The basis for one of Plaintiff’s claims is an allegation that he and the putative
 24   classes have been subjected to extortion through the requirement of fees for, among
 25   other things, No-Index services. [Compl. ¶ 71.] The basis for his other claim is that
 26   Xcentric allegedly charged Plaintiff an “exorbitant” fee for a No-Index service.
 27   [Compl. ¶ 80.] Plaintiff seeks damages for the alleged fees Xcentric charged before
 28   de-indexing. [Compl. ¶ 74.]
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                 MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.56 Page 6 of 14




  1         In all of his allegations about the contours of the No-Index service and
  2   Xcentric’s performance of the No-Index service, Plaintiff neglects to mention one
  3   critical fact: when he paid for the No-Index service that is the basis for his
  4   Complaint, he also agreed that disputes related to that agreement or to Xcentric’s
  5   provision of the No-Index services would be subject to arbitration.
  6         Federal law is clear that arbitration must be compelled where (1) the parties
  7   have a valid agreement to arbitrate and (2) the arbitration agreement encompasses
  8   the dispute. Both of those requirements are met here. The Court should dismiss this
  9   case under Federal Rule of Civil Procedure 12(b)(1) and compel arbitration.
 10   II.   Relevant Background
 11         Xcentric is an Arizona company, with its principal place of business in
 12   Arizona, that operates the Website, on which users can post reports about
 13   businesses and individuals. [Magedson Decl. ¶¶ 3-4]. Xcentric offers several
 14   services, including internet reputation monitoring and a service that de-indexes
 15   certain website pages from search engines, which may limit the extent that such
 16   pages show up on search engines; this is referred to as a “No-Index” service. [Id.
 17   ¶ 5.] Xcentric also offers an arbitration program, where disputes over reports can
 18   be determined by an independent arbitrator. [Id. ¶ 6.]
 19         On January 25, 2022, Plaintiff approached Xcentric by email about a report
 20   about Plaintiff that had been posted by a third party on the Website. [Id. ¶ 7.]
 21   Plaintiff claimed that the user had submitted inaccurate information to the Website.
 22   [Id. ¶ 8.] In ensuing discussions between the parties, Plaintiff reached out to
 23   Xcentric in Arizona and indicated that he wanted to engage in both the arbitration
 24   program and the No-Index service. [Id.]
 25         In a February 1, 2022, email (the “Offer”), Xcentric informed Plaintiff that
 26   he would need to proceed through one program at a time. [Id. ¶ 9.] In the Offer,
 27   Xcentric explained the timeline for the No-Index service, informed Plaintiff that
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                MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.57 Page 7 of 14




  1   the cost of the service was $2,500, and set forth several specific terms. [Id. ¶ 10.]
  2   Among others, the Offer included the following term:
  3
              NOTICE OF ANY CLAIMS IS THRU Arbitration. Any and all
  4           claims arising from or relating to the performance of our service,
              alleged breach, termination or operation of this email Agreement by
  5
              Xcentric shall be subject to binding arbitration. Arbitration of claims
  6           pursuant to this email shall take place in Phoenix, Arizona before the
              American Arbitration Association in accordance with its Commercial
  7
              Arbitration Rules, or before any other mutually agreed arbitrator or
  8           arbitral entity. The costs of arbitration, including the arbitrator’s fees,
              shall initially be paid equally by both parties, subject to reallocation by
  9
              the arbitrator’s final award. The party prevailing in arbitration shall be
 10           entitled to its reasonable attorney’s fees and costs as part of the award.
              Judgment on the arbitration award may be entered in any court having
 11
              jurisdiction thereof pursuant to A.R.S. § 12-1511.
 12
      [Id.]
 13
              Plaintiff responded to the Offer via a February 2, 2022, email (the
 14
      “Acceptance”), in which he: notified Xcentric that he had paid Xcentric $2,500 as
 15
      “my payment for your NoIndex Report service,” provided a bank receipt for the
 16
      payment, and stated, “I am also acknowledging that I agree to the ‘NoIndex Report’
 17
      terms as stated in this email string.” [Id. ¶ 11.] Xecentric followed the acceptance
 18
      and payment by performing the No-Index service, and it continues to perform (the
 19
      service lasts for three years). [Id. ¶ 12.]
 20
              The Acceptance was unequivocal: Plaintiff contracted with Xcentric to
 21
      receive the No-Index service and expressly accepted Xcentric’s offered terms
 22
      contained in the email string, including the conspicuous and emphasized provision
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      for arbitration. The agreement that was reached through the Offer and Acceptance
 24
      is referred to as the “No-Index Agreement.”
 25
      III.    Analysis
 26
              The Federal Arbitration Act (“FAA”) requires enforcement of “[a] written
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      provision in . . . a contract evidencing a transaction involving commerce to settle
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                  MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.58 Page 8 of 14




  1   by arbitration a controversy thereafter arising out of such contract or
  2   transaction . . . .” 9 U.S.C. § 2. “The FAA ‘leaves no place for the exercise of
  3   discretion by a district court, but instead mandates that district courts shall direct
  4   the parties to proceed to arbitration on issues as to which an arbitration agreement
  5   has been signed.’” McLychok v. Diamond Resorts U.S. Collection Dev., LLC, 2021
  6   WL 614994, at *2 (S.D. Cal. Feb. 16, 2021) (quoting Dean Witter Reynolds Inc. v.
  7   Byrd, 470 U.S. 213, 218 (1985)).
  8         Thus, on a motion to compel arbitration, the only two issues before a district
  9   court are (1) whether there is a valid agreement to arbitrate and (2) whether the
 10   agreement encompasses the dispute at issue. Id.; Chiron Corp. v. Ortho Diagnostic
 11   Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000). “If the response is affirmative on
 12   both counts, then the Act requires the court to enforce the arbitration agreement in
 13   accordance with its terms.” Chiron, 207 F.3d at 1130 (emphasis added).
 14         Furthermore, “[t]here is an ‘emphatic federal policy in favor of arbitral
 15   dispute resolution,’ so ‘any doubts concerning the scope of arbitrable issues should
 16   be resolved in favor of arbitration, whether the problem at hand is the construction
 17   of the contract language itself or an allegation of waiver, delay, or a like defense to
 18   arbitrability.’” McLychok, 2021 WL 614994, at *2 (quoting Mitsubishi Motors
 19   Corp. v. Soler Chrysler-Plymouth, 473 U.S. 614, 626, 631 (1985)).
 20         Procedurally, “[m]otions to compel arbitration are treated generally as
 21   motions to dismiss for lack of subject matter jurisdiction pursuant to Federal Rule
 22   of Civil Procedure 12(b)(1).” Indian Hills Holdings, LLC v. Frye, 2021 WL
 23   5994036, at *5 (S.D. Cal. Dec. 17, 2021) (cleaned up). When ruling on Rule
 24   12(b)(1) motions, the Court may consider material outside the pleadings. See Ass’n
 25   of Am. Med. Colleges v. United States, 217 F.3d 770, 778 (9th Cir. 2000) (“For
 26   motions to dismiss under Rule 12(b)(1), . . . the moving party may submit affidavits
 27   or any other evidence properly before the court . . . .” (cleaned up)).
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                 MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.59 Page 9 of 14




  1         This action should be dismissed, and arbitration should be compelled,
  2   because (1) Plaintiff entered a valid arbitration agreement that (2) encompasses the
  3   dispute at issue.
  4         A.     There is a valid arbitration agreement between the parties.
  5         Plaintiff agreed that “[a]ny and all claims arising from or relating to the
  6   performance of our service, alleged breach, termination or operation of [the No-
  7   Index] Agreement by Xcentric shall be subject to binding arbitration.” This is a
  8   valid arbitration agreement between Plaintiff and Xcentric.
  9         Under the FAA, an arbitration agreement “shall be valid, irrevocable, and
 10   enforceable” unless grounds “exist at law or in equity for [its] revocation.” 9 U.S.C.
 11   § 2. Plaintiff has not contended, in the Complaint or otherwise, that the arbitration
 12   provision in the No-Index Agreement is unenforceable. Rather, Plaintiff focuses on
 13   his attempts to edit a different agreement, which the parties never agreed to.
 14         In considering whether a valid arbitration agreement exists, courts “look to
 15   general state-law principles of contract interpretation, while giving due regard to
 16   the federal policy in favor of arbitration by resolving ambiguities as to the scope of
 17   arbitration in favor of arbitration.” Boardman v. Pac. Seafood Group, 822 F.3d
 18   1011, 1018 (9th Cir. 2016) (cleaned up). Arizona law governs the No-Index
 19   Agreement. Because jurisdiction in this Court is based on a federal question, federal
 20   common-law principles of conflicts of law apply. See, e.g., In re Sterba, 852 F.3d
 21   1175, 1180 (9th Cir. 2017); In re Lindsay, 59 F.3d 942, 948 (9th Cir. 1995); Chloe
 22   Z Fishing Co., Inc. v. Odyssey Re (London) Ltd., 109 F. Supp. 2d 1236, 1253 n.14
 23   (S.D. Cal. 2000). “[F]ederal common law follows the approach outlined in the
 24   Restatement (Second) of Conflict of Laws.” Sterba, 852 F.3d at 1180. Absent a
 25   choice-of-law provision in a contract,1 this requires determining the state with “the
 26
            1
 27           The No-Index Agreement does not contain an explicit choice of law
      provision, but it did reference Arizona law (A.R.S. § 12-1511), which further
 28   confirms Arizona’s significant connection with the transaction and the parties.
                                                9
                 MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.60 Page 10 of 14




   1   most significant relationship to the transaction and the parties,” taking into account
   2   the place of contracting; the place of negotiations; the place of performance; the
   3   location of the subject matter; and the domicil, residence, nationality, place of
   4   incorporation, and place of business of the parties. Restatement (Second) of
   5   Conflict of Laws § 188 (1971). Here, Arizona has the most significant relationship
   6   to the transaction and the parties: the Website (the subject matter of this lawsuit
   7   and of the No-Index Agreement) is operated from Arizona, Xcentric is an Arizona
   8   company with its principal place of business in Arizona, the de-indexing services
   9   Plaintiff received were provided from Arizona, and contracting and negotiations
 10    took place with Xcentric in Arizona and Plaintiff in California. [Magedson Decl.
 11    ¶¶ 3, 13.]
 12          Under Arizona law, “for an enforceable contract to exist there must be an
 13    offer, an acceptance, consideration, and sufficient specification of terms so that the
 14    obligations involved can be ascertained.” Savoca Masonry Co., Inc. v. Homes &
 15    Son Const. Co., Inc., 542 P.2d 817, 819 (Ariz. 1975). “Thus, a defendant seeking
 16    to compel arbitration must show that the plaintiff accepted the arbitration
 17    agreement.” Escareno v. Kindred Nursing Centers W., L.L.C., 366 P.3d 1016, 1019
 18    (Ariz. Ct. App. 2016). 2
 19          Here, the parties clearly formed a valid agreement to arbitrate by explicit
 20    agreement. Xcentric made an offer to perform a No-Index service (via the Offer);
 21    Plaintiff accepted the Offer (via the Acceptance) and paid $2,500. [Magedson Decl.
 22    ¶¶ 9-12.] The No-Index Agreement had sufficient specification of terms, both as to
 23
 24
 25          2
               California law is similar. See, e.g., Levy v. Only Cremations for Pets, Inc.,
 26    57 Cal. App. 5th 203, 211 (2020) (“[T]he vital elements of a cause of action based
       on contract are mutual assent (usually accomplished through the medium of an
 27    offer and acceptance) and consideration.” (cleaned up)).
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                    MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.61 Page 11 of 14




   1   the agreement generally and as to the arbitration requirement specifically. Xcentric
   2   stated in the Offer:
   3
             NOTICE OF ANY CLAIMS IS THRU Arbitration. Any and all
   4         claims arising from or relating to the performance of our service,
             alleged breach, termination or operation of this email Agreement by
   5
             Xcentric shall be subject to binding arbitration. Arbitration of claims
   6         pursuant to this email shall take place in Phoenix, Arizona before the
             American Arbitration Association in accordance with its Commercial
   7
             Arbitration Rules, or before any other mutually agreed arbitrator or
   8         arbitral entity. The costs of arbitration, including the arbitrator’s fees,
             shall initially be paid equally by both parties, subject to reallocation by
   9
             the arbitrator’s final award. The party prevailing in arbitration shall be
 10          entitled to its reasonable attorney’s fees and costs as part of the award.
             Judgment on the arbitration award may be entered in any court having
 11
             jurisdiction thereof pursuant to A.R.S. § 12-1511.
 12
       [Id. ¶ 10.] Plaintiff responded in the Acceptance, “I am also acknowledging that I
 13
       agree to the ‘NoIndex Report’ terms as stated in this email string.” [Id.¶ 11.]
 14
       Acceptance of the arbitration provision in the No-Index Agreement was
 15
       unequivocal.
 16
             There can be no dispute that the first requirement for arbitration to be
 17
       compelled—a valid agreement to arbitrate between the parties—is met.
 18
             B.     The arbitration agreement encompasses this dispute.
 19
             Again, the No-Index Agreement provides that “[a]ny and all claims arising
 20
       from or relating to the performance of our service, alleged breach, termination or
 21
       operation of this email Agreement by Xcentric shall be subject to binding
 22
       arbitration.” That arbitration agreement encompasses this dispute.
 23
              “[T]he scope of [an] arbitration clause is governed by federal law.” Tracer
 24
       Research Corp. v. Nat’l Envtl. Services Co., 42 F.3d 1292, 1294 (9th Cir. 1994).
 25
       Federal law provides that the “arising from or relating to” language used in the
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       arbitration provision must be interpreted broadly. See, e.g., Faegin v. LivingSocial,
 27
       Inc., 2014 WL 5307186, at *3 (S.D. Cal. Oct. 15, 2014) (“A clause requiring
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                  MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.62 Page 12 of 14




   1   arbitration of any dispute ‘arising from or relating to’ an agreement is a broad
   2   arbitration clause.”). This language is interpreted to encompass “any disputes that
   3   have ‘a significant relationship to,’ or at least ‘some direct relationship’ with” the
   4   topics listed. Balan v. Tesla, Inc., 840 F. App’x 303, 304 (9th Cir. 2021). Thus, the
   5   arbitration provision here requires arbitration of all claims that have a significant
   6   or direct relationship with any of the following: performance of services under the
   7   No-Index Agreement, alleged breaches of the No-Index Agreement, termination of
   8   the No-Index Agreement, or operation of the No-Index Agreement by Xcentric.
   9            The Complaint’s allegations establish that Plaintiff’s claims fall within this
 10    scope:
 11                • Plaintiff alleges he paid for a No-Index service, but the report
 12                   underlying the Complaint “was allowed to remain” on the Website
 13                   [Compl. ¶ 50];
 14                • Plaintiff purports to represent a putative class defined to include “[a]ll
 15                   California citizens who have had a RIPOFF Report issued about
 16                   him/her/it/them who have paid any monies in an attempt to have the
 17                   Report . . . de-indexed” [Compl. ¶ 54];
 18                • Plaintiff alleges, as basis for the First Cause of Action, that he and the
 19                   putative classes have been subject to extortion through the
 20                   requirement of fees for, inter alia, No-Index services [Compl. ¶ 71];
 21                • Plaintiff (on behalf of himself and the putative classes) seeks damages
 22                   owed “as a result of Defendants’ imposition of extortionist fees and
 23                   costs before consideration of removal, redaction, and/or de-indexing
 24                   Reports” [Compl. ¶ 74]; and
 25                • Plaintiff alleges, as a basis for the Second Cause of Action, that
 26                   Xcentric charged Plaintiff an “exorbitant” fee for a No-Index service.
 27                   [Compl. ¶ 80].
 28
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                    MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.63 Page 13 of 14




   1         Plaintiff’s claims have a significant or direct relationship with both
   2   (a) performance of services under the No-Index Agreement and (b) operation of the
   3   No-Index Agreement. They thus are encompassed by the arbitration provision in
   4   the No-Index Agreement.
   5         C.     Plaintiffs are entitled to an award of their attorneys’ fees and costs.
   6         Out of an abundance of caution, Xcentric notes here that it is entitled to its
   7   attorneys’ fees and costs under Arizona law if and when the Court dismisses this
   8   matter under Rule 12(b)(1). Because this matter arises out of contract, Xcentric is
   9   entitled to recover its reasonable attorneys’ fees under Ariz. Rev. Stat. § 12-
 10    341.01(A), and its costs under Ariz. Rev. Stat. § 12-341. If successful on this
 11    Motion, Xcentric will submit a motion for attorneys’ fees pursuant to Federal Rule
 12    of Civil Procedure 54.
 13    IV.   Conclusion
 14          Both requirements for compelling arbitration are met: (1) there is a valid
 15    arbitration agreement between the parties, and (2) it encompasses this dispute.
 16    Under the FAA, this means arbitration shall be compelled. For these reasons, the
 17    Court should dismiss this case and compel arbitration.
 18          DATED this 31st day of March, 2022.
 19                                            Respectfully submitted,
 20                                            DICKINSON WRIGHT PLLC
 21                                            s/ Bennett Evan Cooper
                                               Bennett Evan Cooper
 22                                            Bradley A. Burns
                                               Amanda E. Newman
 23                                            1850 N. Central Avenue, Suite 1400
                                               Phoenix, Arizona 85004
 24
                                               Attorneys for Defendant
 25                                            Xcentric Ventures, LLC
 26
 27
       COPY of the foregoing served via the ECF system
 28    this 31st day of March, 2022, on the following:
                                                13
                  MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
Case 3:22-cv-00393-BEN-KSC Document 3 Filed 03/31/22 PageID.64 Page 14 of 14




   1   Jeffrey L. Hogue
       Tyler J. Belong
   2   Jimmie D. Parker
       Mark A. Simpliciano
   3   HOGUE & BELONG
       170 Laurel Street
   4   San Diego, CA 92101
       jhogue@hoguebelonglaw.com
   5   tbelong@hoguebelonglaw.com
       jparker@hoguebelonglaw.com
   6   msimpliciano@hoguebelonglaw.com
       Attorneys for Plaintiff
   7
   8   s/ Nicole Francini
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                 MEMORANDUM IN SUPPORT OF MOTION TO DISMISS AND COMPEL ARBITRATION
